Case 3:05-cv-30178-KPN Document 33 Filed 01/16/2007 Paget oft

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

MICHAEL BEHAYLO,
PlaintiH`
vs. ClVIL ACTION NO.: 05-301'78-MAP

THE TOP-FLITE GOLF COMPANY,
Defendant

PLAINTIFF’S MOTION T() ALL()W
MEMORANDUM IN EXCESS ()F TWENTY PAGES

The plaintift`, Michael Behaylo, pursuant to the Loeal Rules of the District Court of
Massachusetts moves for permission to tile a Memorandum of Law in Opposition to Defendant’s
Motion for Summary Judgment that is in excess of twenty pages The Statement and the
Memorandum filed by the defendant The Top-Flite Golf Company seeks dismissal of the entire
case and deals with a variety of issues raised by the Company and defendant’s brief exceeds
twenty pages

Respeetfi.)lly submitted,

/s/ Maurice M. Cahillane

Maurice M. Cahillane, Esq.

EGAN, FLANAGAN AND COHEN, P.C.
67 Market Street - Post OHice Box 9035
Springtield, MA 01 102

(413) 737-0260-, Fax; (413) 737-0121
BBO# 069660

Dated: January l6, 2007

12074-05(.\132\127842.wpd

